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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNITED STATES OF AMERICA
CASE NO, 3:22-CR-378-N
Vv.

RAYNALDO RIVERA ORTIZ, JR.

GOVERNMENT’S DISCLOSURE OF EXPERT WITNESSES

The United States of America (the government) notifies the Court and the
defendant, pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G), that it
intends to present expert testimony from individuals listed in this document. The
government does not believe that all are “experts” in that many issues about which
they will and may testify is covered under Federal Rule of Evidence 701, which
governs opinion testimony of lay witnesses. Out of an abundance of caution,
however, the government provides the following notice of witnesses providing
testimony that may fall under Federal Rule of Evidence 702.

The following are forensic toxicology specialists who will be called to
testify as potential expert witnesses. Each will testify that he or she took a human
sample (e.g., blood) and analyzed it to determine the presence of any drugs (legal
and illegal) and utilized tests and techniques relied on by other experts in the same
field; one reviewed the work of others, to validate and confirm the results reached
by them. Each is a college graduate in a scientific field and has received advance
training in relevant areas and topics. Each has formed opinions based on his/her

experience and training regarding tests and analyses they performed.

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Megan Savage

Southwestern Institute of Forensic Sciences

2355 N. Stemmons Freeway

Dallas, Texas 75207

(214) 920-5900

Ms. Savage is a Toxicology Chemist II employed by the Southwestern
Institute of Forensic Sciences (SWIFS) and has been since 2015. Before coming
to SWIFS, she was employed as a Toxicology Technician at the Harris County
Institute of Forensic Sciences. Ms. Savage obtained a bachelor’s degree in
forensic chemistry from Sam Houston State University (SHSU) in 2012, as well as
a master’s degree in forensic chemistry from SHSU in 2014. She currently holds a
license in toxicology (general, non-interpretive) from the Texas Forensic Science
Commission and has held that license since 2018. Ms. Savage is a member of the
Society of Forensic Toxicologists (SOFT) and the Southwestern Association of
Toxicologists. She collaborated with others on an article published in the Journal
of Analytical Toxicology in 2015. Since 2014, she has regularly pursued and
completed continuing education in her field, including attending courses and
webinars conducted by the SOFT, the Center for Forensic Science Research and
Education (CFSRE), NMS Laboratories, the Texas Forensic Science Commission,
Chromatography Online, and RTI International’s Center for Forensic Sciences, as

well as reviewing articles published by scholarly journals such as the Journal of

Analytical Toxicology.

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Ms. Savage will testify about her involvement as a Toxicology Chemist I]
in the SWIFS testing of femoral blood recovered during the autopsy of M.K., who
died on June 21, 2022. The blood was contained in a tube labeled with a unique
barcode generated by the Laboratory Information Management System (LIMS).
The barcode was used to track chain of custody throughout the examination
process and for quality assurance purposes throughout processing. Ms. Savage
will testify that she conducted certain parts of the forensic toxicology analysis
performed on the blood sample (item no. 005-003 received by SWIFS in case no.
IFS-22-12341-0004). Specifically, Ms. Savage will testify that on July 7, 2022
she retrieved the tube containing the blood sample from storage, extracted a
sample for testing, and then conducted a LC-QTOF-MS/MS drug screening
procedure on the sample, per the Standard Operating Procedures in effect at that
time (including revision 18, SOP 4861-QTOF Drug Screen, and revisions 15, 16,
and 17, SOP 4864-Toxicology Administrative Procedures). She will testify that
the testing process involved a high-resolution mass spectrometry method that
allows for the identification of a wide range of drugs and metabolites. Ms. Savage
will testify that the testing instrumentation and procedure produced digital data
concerning the sample (as part of a batch of samples); she then collected, collated,
and preserved the data for review by another toxicologist. She will testify that,
according to the data, bupivacaine was found to be present in the sample. Ms.
Savage will testify that, during the span of these procedures, quality assurance

protocols were rigorously observed, including regular assessment of quality

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controls and calibration. Ms. Savage’s involvement in the testing procedures is
documented in the SWIFS Toxicology Analysis Test Report, the Toxicology
Worksheet, the Chain of Custody Report, the Quality Control Summary, and the
supporting documents under SWIFS case no. IFS-22-12341-0004.

Ms. Savage has not testified as an expert witness at any trial or depositions

in the last four years, but has testified as a fact witness in the last four years:

3/30/2022 _IFS-19-08060 Fact Witness Criminal State Talyle Meadards DC 195th Dallas
11/17/2022 IFS-21-08983 Fact Witness Criminal State Jordan Mathew DC CCC#5 Dallas

Her curriculum vitae has been attached to this filing as Exhibit A. The government
expects to demonstrate, by virtue of her education, continuing training, and
experience, that Ms. Savage has specialized knowledge, skills, experience, training,
and education in the field of forensic toxicology and the related testing of blood.
Fed. R. Evid. 702(a). Further, the government expects to show that her specialized
knowledge and skill will help the trier of fact understand the evidence—here, her
role in the testing of blood by SWIFS personnel using high resolution mass

spectrometry and the results of that testing.

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Megan Savage,

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Darya Vassilieva

Southwestern Institute of Forensic Sciences

2355 N. Stemmons Freeway

Dallas, Texas 75207

(214) 920-5900

Ms. Vassilieva is a Forensic Toxicologist If employed by the Southwestern
Institute of Forensic Sciences (SWIFS) and has been since December 2013.
Before coming to SWIFS, she was employed as a Medical Technologist at Quest
Diagnostics New York City/New Jersey unit. Ms. Vassilieva obtained a
bachelor’s degree in forensic toxicology from John Jay College of Criminal
Justice in 2009. She currently holds a license as a toxicologist (general, non-
interpretive) from the Texas Forensic Science Commission and has held that
license since December 2018. Since 2013, she has regularly pursued and
completed continuing education in her field, including attending courses and
webinars conducted by the Society of Forensic Toxicologists (SOFT), the
International Alliance of Clinical and Forensic Toxicologists (IACFT), and RTI
International’s Center for Forensic Sciences, as well as reviewing articles
published by scholarly journals such as the Journal of Analytical Toxicology.

Ms. Vassilieva will testify about her involvement as a Forensic
Toxicologist II in the SWIFS testing of femoral blood recovered during the
autopsy of M.K., who died on June 21, 2022. The blood was contained in a tube
labeled with a unique barcode generated by the Laboratory Information

Management System (LIMS). The barcode was used to track chain of custody

throughout the examination process and for quality assurance purposes throughout

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processing. Ms. Vassilieva will testify that she conducted certain parts of the
forensic toxicology analysis performed on the blood sample (item no. 005-002
received by SWIFS in case no. [FS-22-12341-0004). Specifically, Ms. Vassilieva
will testify that on July 13, 2022 she retrieved the tube containing the blood
sample from storage, extracted a sample for testing, and then conducted a LC-
QTOF-MS/MS drug screening procedure on the sample, per the Standard
Operating Procedures in effect at that time (including revision 18, SOP 4861-
QTOF Drug Screen, and revisions 15, 16, and 17, SOP 4864-Toxicology
Administrative Procedures). She will testify that the testing process involved a
high-resolution mass spectrometry method that allows for the identification of a
wide range of drugs and metabolites. Ms. Vassilieva will testify that the testing
instrumentation and procedure produced digital data concerning the sample (as
part of a batch of samples); she then collected, collated, and preserved the data for
review by another toxicologist. She will testify that, according to the data,
bupivacaine was found to be present in the sample. Ms. Vassilieva will testify
that, during the span of these procedures, quality assurance protocols were
rigorously observed, including regular assessment of quality controls and
calibration.

Ms. Vassilieva’s involvement in the testing procedures is documented in
the Toxicology Analysis Test Report, the Toxicology Worksheet, the Chain of
Custody Report, the Quality Control Summary, and the supporting documents

under SWIFS case no. IFS-22-12341-0004.

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Ms. Vassilieva has not testified as an expert witness at any trial or

depositions in the last four years, but has testified as a fact witness in the last four

years:

9/30/2021 IFS-17-05119 Fact Witness Criminal — State David Patrick Gray CCC? Dallas

Her curriculum vitae has been attached to this filing as Exhibit B. The
government expects to demonstrate, by virtue of her education, continuing
training, and experience, that Ms. Vassilieva has specialized knowledge, skills,
experience, training, and education in the field of forensic toxicology and the
related testing of blood. Fed. R. Evid. 702(a). Further, the government expects to
show that her specialized knowledge and skill will help the trier of fact understand
the evidence—here, her role in the testing of blood by SWIFS personnel using

high resolution mass spectrometry and the results of that testing.

Darya Vassilieva

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Liza Chacko

Southwestern Institute of Forensic Sciences

2355 N. Stemmons Freeway

Dallas, Texas 75207

(214) 920-5900

Ms. Chacko is a Toxicology Chemist II employed by the Southwestern
Institute of Forensic Sciences (SWIFS) and has been since May 2019. Before
coming to SWIFS, she was employed as a Certifying Scientist at Reference Health
Labs; a Certifying Scientist at Comprehensive Lab Services; a Lab Technologist
R&D/CODIS at Cellmark Forensics; and Lab Support Specialist IJ at NMS Labs.
Ms. Chacko obtained a bachelor’s degree in biotechnology from VIT University in
2006 and a master’s degree in forensic science from Arcadia University in 2008.
She currently holds a license as a toxicology analyst (general, non-interpretive)
from the Texas Forensic Science Commission and has held that license since
2019. Ms. Chacko is a member of the Southwestern Association of Toxicologists
and has been since 2021. Ms. Chacko has regularly pursued and completed
continuing education in her field, including attending courses and webinars
conducted by the Society of Forensic Toxicologists (SOFT), Center for Forensic
Science Research and Education (CFSRE), the Texas Forensic Science
Commission (TFSC), NMS Labs, and LCGC International, as well as reviewing
articles published by scholarly journals such as the Journal of Analytical
Toxicology.

Ms. Chacko will testify about her involvement as a Toxicology Chemist II

in the SWIES testing of blood recovered from K.P. and received by SWIFS for

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testing in August 2022. The blood was contained in a tube labeled with a unique
barcode generated by the Laboratory Information Management System (LIMS).
The barcode was used to track chain of custody throughout the examination
process and for quality assurance purposes throughout processing. Ms. Chacko
will testify that she conducted certain parts of the forensic toxicology analysis
performed on the blood sample (item no. 001-001 received by SWIFS in case no.
IFS-22-17336-0001). Specifically, Ms. Chacko will testify that on September 8,
2022 she retrieved the tube containing the blood sample from storage, extracted a
sample for testing, and then conducted a LC-QTOF-MS/MS drug screening
procedure on the sample, per the Standard Operating Procedures in effect at that
time (including revision 20, SOP 4861-QTOF Drug Screen, and revision 17, SOP
4864-Toxicology Administrative Procedures). She will testify that the testing
process involved a high-resolution mass spectrometry method that allows for the
identification of a wide range of drugs and metabolites. Ms. Chacko will testify
that the testing instrumentation and procedure produced digital data concerning the
sample (as part of a batch of samples); she then collected, collated, and preserved
the data for review by another toxicologist. She will testify that, according to the
data, O-desmethyltramadol, ephedrine, ondansetron, tramadol, lidocaine,
gabapentin, and bupivacaine were present in the sample. Ms. Chacko will testify
that, during the span of these procedures, quality assurance protocols were
rigorously observed, including regular assessment of quality controls and

calibration.

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Additionally, Ms. Chacko will testify about her involvement as a
Toxicology Chemist II in the SWIFS testing of blood recovered from J.A. and
received by SWIEFS for testing in August 2022. The blood was contained in a tube
labeled with a unique barcode generated by the Laboratory Information
Management System (LIMS). The barcode was used to track chain of custody
throughout the examination process and for quality assurance purposes throughout
processing. Ms. Chacko will testify that she conducted certain parts of the
forensic toxicology analysis performed on the blood sample (item no. 001-009
received by SWIFS in case no. IFS-22-17256-0001). Specifically, Ms. Chacko
will testify that on September 8, 2022 she retrieved the tube containing the blood
sample from storage, extracted a sample for testing, and then conducted a LC-
QTOF-MS/MS drug screening procedure on the sample, per the Standard
Operating Procedures in effect at that time (including revision 20, SOP 4861-
QTOF Drug Screen, and revision 17, SOP 4864-Toxicology Administrative
Procedures). She will testify that the testing process involved a high-resolution
mass spectrometry method that allows for the identification of a wide range of
drugs and metabolites. Ms. Chacko will testify that the testing instrumentation and
procedure produced digital data concerning the sample (as part of a batch of
samples); she then collected, collated, and preserved the data for review by
another toxicologist. She will testify that, according to the data, lidocaine and

ephedrine were present in the sample. Ms. Chacko will testify that, during the

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span of these procedures, quality assurance protocols were rigorously observed,
including regular assessment of quality controls and calibration.

Ms. Chacko’s involvement in the testing procedures is documented in the
Toxicology Analysis Test Report, the Toxicology Worksheet, the Chain of
Custody Report, the Quality Control Summary, and the supporting documents
under SWIFS case nos. IFS-22-17256-0001 and IFS-22-17336-0001.

Ms. Chacko has not testified as an expert at any trials or depositions in the

last four years, but has testified as a fact witness in the last four years:

4/18/2023 |F5-21-24517 Fact Witness Criminal State Lakietle Evette Davis CCCHII Dallas

Her curriculum vitae has been attached to this filing as Exhibit C. The
government expects to demonstrate, by virtue of her education, continuing
training, and experience, that Ms. Chacko has specialized knowledge, skills,
experience, training, and education in the field of forensic toxicology and the
related testing of blood. Fed. R. Evid. 702(a). Further, the government expects to
show that her specialized knowledge and skill will help the trier of fact understand
the evidence—here, her role in the testing of blood by SWIFS personnel using

high resolution mass spectrometry and the results of that testing.

Liza Chacko

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Heidi Christensen

Southwestern Institute of Forensic Sciences

2355 N. Stemmons Freeway

Dallas, Texas 75207

(214) 920-5900

Ms. Christensen is a Toxicology Chemist II] employed by the Southwestern
Institute of Forensic Sciences (SWIFS) and has been since July 2014. From April
2005 to July 2014, she was employed as a Toxicology Chemist II at SWIFS.
Before coming to SWIFS, she was employed as a Research Technician II at the
Retina Foundation of the Southwest. Ms. Christensen obtained a bachelor’s
degree in molecular biology from the University of Texas at Dallas in 2003. She
currently holds a license as a toxicologist (interpretive) from the Texas Forensic
Science Commission and has held that license since December 2018. Ms.
Christensen is a member of the Southwestern Association of Toxicologists (SAT)
and has been since 2012. She is also a member of the Society of Forensic
Toxicologists and has been since 2016. In 2012, Ms. Christensen was awarded a
SAT meeting grant, and in 2016 she was given a regional award by the American
Academy of Forensic Sciences. Since 2005, Ms. Christensen has regularly
pursued and completed continuing education in her field, including attending
courses and webinars conducted by the SAT, the Society of Forensic Toxicologists
(SOFT), the Traffic Safety Resource Program, and the Center for Forensic Science

Research and Education (CFSRE), as well as reviewing articles published by

scholarly journals such as the Journal of Analytical Toxicology.

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Ms. Christensen will testify about her involvement as a Toxicology
Chemist III in the SWIES testing of blood recovered from K.P. and received by
SWIFS for testing in August 2022. The blood was contained in a tube labeled
with a unique barcode generated by the Laboratory Information Management
System (LIMS). The barcode was used to track chain of custody throughout the
examination process and for quality assurance purposes throughout processing.
Ms. Christensen will testify that she conducted certain parts of the forensic
toxicology analysis performed on the blood sample (item no. 001-001 received by
SWIES in case no. IFS-22-17336-0001). Specifically, Ms. Christensen will testify
that on September 9, 2022 she retrieved the tube containing the blood sample from
storage, extracted a sample for testing, and then conducted a LC-QTOF-MS/MS
drug screening procedure on it, per the Standard Operating Procedures in effect at
that time (including revision 20, SOP 4861-QTOF Drug Screen, and revision 17,
SOP 4864-Toxicology Administrative Procedures). She will testify that the
testing process involved a high-resolution mass spectrometry method that allows
for the identification of a wide range of drugs and metabolites. Ms. Christensen
will testify that the testing instrumentation and procedure produced digital data
concerning the sample (as part of a batch of samples); she then collected, collated,
and preserved the data for review by another toxicologist. She will testify that,
according to the data, O-desmethyltramadol, ephedrine, ondansetron, tramadol,
lidocaine, gabapentin, and bupivacaine were present in the sample. Ms.

Christensen will testify that, during the span of these procedures, quality assurance

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protocols were rigorously observed, including regular assessment of quality
controls and calibration.

Additionally, Ms. Christensen will testify about her involvement as a
Toxicology Chemist III in the SWIFS testing of blood recovered from J.A. and
received by SWIFS for testing in August 2022. The blood was contained in a tube
labeled with a unique barcode generated by the Laboratory Information
Management System (LIMS). The barcode was used to track chain of custody
throughout the examination process and for quality assurance purposes throughout
processing. Ms. Christensen will testify that she conducted certain parts of the
forensic toxicology analysis performed on the blood sample (item no. 001-009
received by SWIFS in case no, IFS-22-17256-0001). Specifically, Ms.
Christensen will testify that on September 9, 2022 she retrieved the tube
containing the blood sample from storage, extracted a sample for testing, and then
conducted a LC-QTOF-MS/MS drug screening procedure on it, per the Standard
Operating Procedures in effect at that time (including revision 20, SOP 4861-
QTOF Drug Screen, and revision 17, SOP 4864-Toxicology Administrative
Procedures). She will testify that the testing process involved a high-resolution
mass spectrometry method that allows for the identification of a wide range of
drugs and metabolites. Ms. Christensen will testify that the testing
instrumentation and procedure produced digital data concerning the sample (as
part of a batch of samples); she then collected, collated, and preserved the data for

review by another toxicologist. She will testify that, according to the data,

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lidocaine and ephedrine were present in the sample. Ms. Christensen will testify
that, during the span of these procedures, quality assurance protocols were
rigorously observed, including regular assessment of quality controls and
calibration.

Ms. Christensen’s involvement in the testing procedures is documented in
the Toxicology Analysis Test Report, the Toxicology Worksheet, the Chain of
Custody Report, the Quality Control Summary, and the supporting documents
under SWIFS case nos. IFS-22-17256-0001 and IFS-22-17336-0001.

Ms. Christensen has testified as an expert at trials in the last four years; a
list of the trials is attached as Exhibit H. Her curriculum vitae has been attached to
this filing as Exhibit D. The government expects to demonstrate, by virtue of her
education, continuing training, and experience, that Ms. Christensen has
specialized knowledge, skills, experience, training, and education in the field of
forensic toxicology and the related testing of blood. Fed. R. Evid. 702(a).
Further, the government expects to show that her specialized knowledge and skill
will help the trier of fact understand the evidence—here, her role in the testing of
blood by SWIFS personnel using high resolution mass spectrometry and the

results of that testing.

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Heidi Christensen

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David Baxter

Southwestern Institute of Forensic Sciences

2355 N. Stemmons Freeway

Dallas, Texas 75207

(214) 920-5900

Mr. Baxter is a Toxicologist IT employed by the Southwestern Institute of
Forensic Sciences (SWIFS) and has been since June 2017. Prior to his
employment at SWIFS, he was employed as a Certifying Scientist at Next Health
and as graduate student at the University of North Texas. Mr. Baxter obtained a
bachelor’s degree in biology from the University of North Texas in 2005. He
currently holds a license in toxicology (non-interpretive) from the Texas Forensic
Science Commission and has held that license since December 2018. From 2010
to 2015, Mr. Baxter was a member of the Society of Environmental Toxicology
and Chemistry. Mr. Baxter’s research, in collaboration with others, has been
published in several scholarly journals, as noted in his curriculum vitae. He has
made presentations and conference posters for various scientific gatherings, as
noted in his curriculum vitae. Since at least 2017, Mr. Baxter has regularly
pursued and completed continuing education in his field, including attending
courses and webinars conducted by the Texas Forensic Science Commission, the
Society of Forensic Toxicologists (SOFT), RTI International’s Center for Forensic
Sciences, the Society of American Toxicologists, and the Center for Forensic
Science Research and Education (CFSRE).

Mtr. Baxter will testify about his involvement as a Toxicologist II in the

SWIFS testing of blood recovered from K.P. and received by SWIES for testing in

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August 2022. The blood was contained in a tube labeled with a unique barcode
generated by the Laboratory Information Management System (LIMS). The
barcode was used to track chain of custody throughout the examination process
and for quality assurance purposes throughout processing. Mr. Baxter will testify
that he, on September 12, 2022 and following the forensic toxicology analysis of
the blood in a sample (item no. 001-001 received by SWIFS in case no. IFS-22-
17336-0001), removed 1.0 ml of blood (an aliquot) from the tube (pink top) three
times, transferred the aliquots to other tubes (clear top), packaged the clear top
tubes for transport, and released them, for the purposes of the aliquots’ transport
for further testing at an external laboratory for lidocaine, bupivacaine, and
ephedrine. These actions were completed per the Standard Operating Procedures
in effect at that time (including revision 12, SOP 4860-Laboratory Referrals, and
revision 17, SOP 4864-Toxicology Administrative Procedures). Mr. Baxter will
testify that, during the span of these procedures, quality assurance protocols were
rigorously observed.

Additionally, Mr. Baxter will testify about his involvement as a
Toxicologist I] in the SWIEFS testing of blood recovered from J.A. and received by
SWIEFS for testing in August 2022. The blood was contained in a tube labeled
with a unique barcode generated by the Laboratory Information Management
System (LIMS). The barcode was used to track chain of custody throughout the
examination process and for quality assurance purposes throughout processing.

Mr. Baxter will testify that he, on September 12, 2022 and following the forensic

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8/22/2022

toxicology analysis of the blood in a sample (item no. 001-009 received by SWIFS
in case no. IFS-22-17256-0001), removed 1.0 ml of blood (an aliquot) from the
tube (purple top) two times, transferred the aliquots to other tubes (clear top),
packaged the clear top tubes for transport, and released them, for the purposes of
the aliquots’ transport for further testing at an external laboratory for lidocaine and
ephedrine. These actions were completed per the Standard Operating Procedures
in effect at that time (including revision 12, SOP 4860-Laboratory Referrals, and
revision 17, SOP 4864-Toxicology Administrative Procedures). Mr. Baxter will
testify that, during the span of these procedures, quality assurance protocols were
rigorously observed.

Mr. Baxter’s involvement in the testing procedures is documented in the
Toxicology Analysis Test Report, the Toxicology Worksheet, the Chain of
Custody Report, the Quality Control Summary, and the supporting documents
under SWIFS case nos. IFS-22-17256-0001 and IFS-22-17336-001.

Mr. Baxter has not testified as an expert at any trials or depositions in the

last four years, but has testified as a fact witness in the last four years:

IFS-18-20626 Fact Witness Criminal State Tristan Keir Edwards 239th Brazoria Texas

6/7/2023

IFS-22-05005 Fact Witness Criminal State Matthew Flaskrud 9th Judicial District Montgomery Texas
Court

His curriculum vitae has been attached to this filing as Exhibit E. The government
expects to demonstrate, by virtue of his education, continuing training, and
experience, that Mr. Baxter has specialized knowledge, skills, experience, training,

and education in the field of forensic toxicology and the related testing of blood.

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Fed. R. Evid. 702(a). Further, the government expects to show that his specialized
knowledge and skill will help the trier of fact understand the evidence—here, his

role in the preparation of blood samples for release from SWIFS.

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David Baxter

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Amanda Rausch (Mohs)

Southwestern Institute of Forensic Sciences

2355 N. Stemmons Freeway

Dallas, Texas 75207

(214) 920-5900

Ms. Rausch is a Toxicology Chemist II employed by the Southwestern
Institute of Forensic Sciences (SWIFS) and has been since June 2015. Prior to her
employment at SWIFS, she obtained an undergraduate degree in chemistry from
Hamline University in Minnesota in 2012, a certificate in forensic science from
Hamline University in 2013, and a master’s degree in forensic science from
Virginia Commonwealth University in Richmond, Virginia in 2015. She currently
holds a certification as a Diplomate in Forensic Toxicology from the American
Board of Forensic Toxicology and has since 2019. Since 2018, she has been
licensed as a forensic analyst - toxicology (non-interpretive) from the Texas
Forensic Science Commission. Ms. Rausch is a member of the International
Association of Forensic Toxicologists and has been since 2021. She is a member
of the Southwestern Association of Toxicologists and has been since 2020.
Additionally, she is a member of the Society of Forensic Toxicologists and has
been since 2015. In the past, she has been a member of the American Academy of
Forensic Sciences and the American Chemical Society. Ms. Rausch’s research, in
collaboration with others, has been published in the Journal of Analytical
Toxicology, as noted in her curriculum vitae. She has made presentations at and
conference posters for various forensic science meetings/gatherings, as noted in
her curriculum vitae. Since at least 2015, Ms. Rausch has regularly pursued and

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completed continuing education in her field, including attending courses and
webinars conducted by Chromatography Online, the Texas Forensic Science
Commission, the Society of Forensic Toxicologists (SOFT), RTI International’s
Center for Forensic Sciences, the Society of American Toxicologists, and the
Center for Forensic Science Research and Education (CFSRE), as well as
reviewing articles in Journal of Analytical Toxicology.

Ms. Rausch will testify about her involvement as a Toxicology Chemist II
in the SWIFS testing of femoral blood recovered during the autopsy of M.K., who
died on June 21, 2022. The blood was contained in a tube labeled with a unique
barcode generated by the Laboratory Information Management System (LIMS).
The barcode was used to track chain of custody throughout the examination
process and for quality assurance purposes throughout processing. Ms. Rausch
will testify that she, following the forensic toxicology analysis of the blood in a
sample (item no. 005-001 received by SWIES in case no. IFS-22-12341-0004),
removed 1.0 ml of blood (an aliquot) from the tube (gray top), transferred it to
another tube (clear top) on July 27, 2022, packaged the clear top tube for transport,
and released it on July 28, 2022, for the purposes of the aliquot’s further testing at
an external laboratory for bupivacaine. These actions were completed per the
Standard Operating Procedures in effect at that time (including revision 11, SOP
4860-Laboratory Referrals, and revision 17, SOP 4864-Toxicology Administrative
Procedures). Ms. Rausch will testify that, during the span of these procedures,

quality assurance protocols were rigorously observed.

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Ms. Rausch’s involvement in the testing procedures is documented in the
Toxicology Analysis Test Report, the Toxicology Worksheet, the Chain of
Custody Report, the Quality Control Summary, and the supporting documents
under SWIFS case no. IFS-22-12341-0004.

Ms. Rausch has not testified as an expert at any trials or depositions in the

last four years, but has testified as a fact witness in the last four years:

4/18/2023 |FS-21-24517 Fact Witness Criminal State Lakietle Evette Davis cCcHL4 Dallas

Her curriculum vitae has been attached to this filing as Exhibit F. The government
expects to demonstrate, by virtue of her education, continuing training, and
experience, that Ms. Rausch has specialized knowledge, skills, experience,
training, and education in the field of forensic toxicology and the related testing of
blood. Fed. R. Evid. 702(a). Further, the government expects to show that her
specialized knowledge and skill will help the trier of fact understand the
evidence—here, her role in the preparation of blood samples for release from

SWIES.

‘Amanda Rausch

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Brittany Welch, MS

Southwestern Institute of Forensic Sciences

2355 N. Stemmons Freeway

Dallas, Texas 75207

(214) 920-5900

Ms. Welch is a Toxicology Chemist III employed by the Southwestern
Institute of Forensic Sciences (SWIFS) and has been since May 2013. Before that,
Ms. Welch was employed as a Toxicology Chemist II from June 2009 to May
2013. In 2009, Ms. Welch was a graduate researcher at Sam Houston State
University (SHSU). Ms. Welch obtained her undergraduate degree in biology
from Texas A&M University in 2007 and a master’s degree in forensic science
from SHSU in 2009. She is currently licensed as a forensic analyst, toxicology
(interpretive) by the Texas Forensic Science Commission and has been since 2018.
Ms. Welch is a member of the Society of Forensic Toxicologists (since 2022) and
the Southwestern Association of Toxicologists (since 2012). In 2012, Ms. Welch
was awarded a meeting grant by the Southwestern Association of Toxicologists
and conducted a presentation on the detection of bath salts to the Southwestern
Association of Toxicologists. Since as early as 2010, Ms. Welch has regularly
pursued and completed continuing education in her field, including attending
courses and webinars conducted by Chromatography Online, the Texas Forensic
Science Commission, the Society of Forensic Toxicologists (SOFT), RTI
International’s Center for Forensic Sciences, the Society of American

Toxicologists, and the Center for Forensic Science Research and Education

(CFSRE), as well as reviewing articles in Journal of Analytical Toxicology.

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In her role as a Toxicology Chemist III at SWIFS, Ms. Welch performed
the administrative review of SWIFS case files IFS-22-12341-0004, IFS-22-17256-
0001, and IFS-23-17336-0001 and the associated data from the SWIFS
Toxicology Laboratory. Ms. Welch authorized the Toxicology Analysis Test
Reports in each case file, specifically, the analysis of blood samples
recovered/taken from M.K., J.A., and K.P. As the administrative reviewer, Ms.
Welch will testify that she reviewed each case file, the steps she took to do so, and
the data received and provided in each case file. As the individual who signed the
Toxicology Analysis Test Reports, Ms. Welch will testify that she authorized the
Toxicology Analysis Test Reports for the forensic toxicology screenings
performed concerning the blood samples taken from M.K., K.P., and J.A.,
including the procedures and steps undertaken to reach the results, findings, and
conclusions from and for each screen.

She will further testify that the LC-QTOF-MS/MS screening performed in
each case file is a high-resolution mass spectrometry method that allows for the
identification of a wide range of drugs and metabolites. She will testify that the
chromatography separates any potential compounds of interest that may be present
in a sample based on their interaction with a stationary phase, and the compounds
are then bombarded with gas to cause fragmentation of the ions; fragments then
enter the time-of-flight tube where the time taken for the fragment to travel the

pathway allows for accurate mass identification.

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She will further testify regarding the results of the toxicology reports,
including that bupivacaine was detected in the blood sample from M.K.; lidocaine
and ephedrine were detected in the blood sample from J.A.; and O-
desmethyltramadol, ephedrine, ondansetron, tramadol, lidocaine, gabapentin, and
bupivacaine were detected in the blood sample taken from K.P.

Ms. Welch may testify to the general workflow of the SWIFS Toxicology
Laboratory, as well as the Standard Operating Procedures (SOPs), including
revisions 18 and 20, SOP 4861-QTOF Drug Screen, and revisions 15, 16, and 17,
SOP 4864-Toxicology Administrative Procedures) in effect at the time of each
screening. Ms. Welch will testify that her review determined that the various
toxicology personnel followed and observed the SWIFS SOPs and quality control

processes during the span of the screenings in each of the three case files.

[nothing further on this page]

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Ms. Welch has testified as an expert at trials in the last four years; a list of
the trials is attached as Exhibit H. Her curriculum vitae has been attached to this
filing as Exhibit G. The government expects to demonstrate, by virtue of her
education, continuing training, and experience, that Ms. Welch has specialized
knowledge, skills, experience, training, and education in the field of forensic
toxicology and the related testing of blood. Fed. R. Evid. 702(a). Further, the
government expects to show that her specialized knowledge and skill will help the
trier of fact understand the evidence—here, the testing of blood by SWIFS

personnel using high resolution mass spectrometry and the results of that testing.

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Brittany Welbh>

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The government reserves the right to modify or supplement this Notice and
will do so as necessary and as circumstances warrant, and with appropriate leave

from this Court.

Respectfully submitted,

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Certificate of Service

I certify that a copy of this pleading was served on counsel for the
defendant via ECF on February 15, 2024.

s/f John J. de la Garza II

John J. de la Garza II
Assistant United States Attorney

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